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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                          CORPUS CHRISTI DIVISION

EDWARD WERNECKE,                   §
individually, MICHELLE             §   CIVIL ACTION No.:
WERNECKE, individually,            §
KW, a minor,by and through         §
her parents and legal              §
guardians, EDWARD                  §
WERNECKE and                       §
MICHELLE W ERNECKE,                §
JW, a minor, by and through        §
his parents and legal              §
guardians, EDWARD                  §
WERNECKE and                       §             JURY TRIAL DEMANDED
MICHELLE W ERNECKE ,               §
JW, a minor by and through         §
his parents and legal              §
guardians, EDWARD                  §
WERNECKE and                       §         PLAINTIFFS’ REQUEST FOR
MICHELLE WERNECKE,                 §                    PRELIMINARY
and                                §                 AND PERM ANENT
JW, aminor by and through          §              INJUNCTIVE RELIEF,
his parents and legal              §        DECLARATORY JUDGMENT,
guardians, EDWARD                  §                ACTUAL DAMAGES
WERNECKE and                       §              NOMINAL DAMAGES,
MICHELLE W ERNECKE ,               §              PUNITIVE DAMAGES,
                                   §       ATTORNEY’S FEES AND COSTS
      Plaintiffs,                  §            FOR CONSTITUTIONAL
                                   §                      VIOLATIONS
vs.                                §
                                   §
TEXAS DEPARTMENT OF                §
FAMILY and PROTECTIVE              §
SERVICES,                          §
LINDA KIM GARCIA, in her           §
individual capacity,               §
STELLA KLEIN, in her               §
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individual capacity,              §
CLAIRA TRAINER, in her            §
individual capacity,              §
DIANE BONNEAU, in her             §
individual capacity,              §
KEVIN SULLIVAN, in his            §
individual capacity,              §
CINDI MORALES, in hER             §
individual capacity               §
NUECES COUNTY,                    §
DEPUTY CONSTABLE,                 §
GARCIA DOE, in his                §
individual capacity,              §
DEPUTY CONSTABLE,                 §
CARRION ROE, in his               §
individual capacity,
      Defendants.

                 PLAINTIFFS’ ORIGINAL COMPLAINT
      ______________________________________________________
                          ______________

TO THE HONORABLE JUDGE OF SAID COURT:

     EDWARD       WERNECKE,       individually,   MICHELLE     WERNECKE,

individually, KW, a minor by and through her parents and legal guardians,

EDWARD WERNECKE and MICHELLE WERNECKE, JW, a minor, by and

through his parents and legal guardians, EDWARD WERNECKE and MICHELLE

WERNECKE , JW, a minor by and through his parents and legal guardians,

EDWARD WERNECKE and MICHELLE W ERNECKE, and JW, aminor by and

through his parents and legal guardians,EDWARD WERNECKE and MICHELLE

WERNECKE, (all hereinafter collectively referred to as “Plaintiffs”) complain
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of TEXAS DEPARTM ENT OF FAMILY and PROTECTIVE SERVICES

(“DFPS”), LINDA KIM GARCIA (“Garcia”), in her individual capacity, STELLA

KLEIN (“Klein”), in her individual capacity, CLAIRA TRAINER (“Trainer”), in

her individual capacity, DIANE BONNEAU (“Bonneau”), in her individual

capacity, KEVIN SULLIVAN (“Sullivan”) in his individual capacity, CINDI

MORALES       (“Morales”) in her individual capacity, NUECES               COUNTY

(“Nueces”), DEPUTY CONSTABLE, GARCIA DOE (“Deputy Doe”), in his

individual capacity, DEPUTY CONSTABLE, CARRION ROE (“Deputy Roe”), in

his individual capacity, (all hereinafter be collectively referred to as “Defendants”)

and, say as follows:

                                          I.

                   NATURE OF SUIT GENERALLY
              AND GENERAL NATURE OF RELIEF SOUGHT


      1.1.   This civil action is necessary because of Defendants’ malicious and

deliberate interference with the family integrity of the Plaintiffs. Defendants have

disregarded the Constitution of the United States of America and by their conduct,

policy, practice and custom have violated the fundamental rights of all Americans

– the right of privacy and the right to the love, nurture and affection of Plaintiffs’

family. The right of a family to remain together without the coercive interference

of the government is a fundamental right protected by the Constitution.
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      1.2.   Defendants have violated the procedural and substantive due process

rights guaranteed under the Fourteenth Amendment. Defendants’ conduct against

Plaintiffs’ family is outrageous, egregious and shocks the contemporary

conscience. Defendants’ conduct is arbitrary and represents an abusive, irrational,

malicious and oppressive use of government power against Plaintiffs’ family. The

Defendants have violated the fundamental right of Plaintiffs to fair procedures

before having children removed from their family. Freedom of personal choice in

matters of family life is a fundamental liberty interest protected by the Fourteenth

Amendment of the Constitution. In 2005, it was clearly established that the

integrity of the family unit in America was protected by the Constitution.

      1.3. This is a suit for a preliminary and permanent injunction, Declaratory

Judgment, actual damages, nominal damages, punitive damages and to recover

attorney’s fees and costs. Plaintiffs seek a Declaratory Judgment that the policies,

customs, practices, usages, rules, procedure and conduct of the Defendants are in

violation of the United States Constitution.     Plaintiffs seek a preliminary and

permanent injunction from the Court prohibiting the illegal and unlawful acts of

the Defendants.

      1.4.   This suit arises because of the unconstitutional and illegal actions of

the Defendants in enforcing a policy, practice, custom, usage, rule or procedure

and putting such policy, practice, custom, usage, rule or procedure into effect
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against the Plaintiffs. Plaintiffs’ constitutional rights guaranteed to Plaintiffs by,

inter alia, the       Fourth and Fourteenth Amendment to the United States

Constitution, have been violated by the policy, practice, custom, usage, rule,

procedure and conduct of the Defendants as enforced against the Plaintiffs as stated

herein.

         1.5.   Plaintiffs have a clearly protected and clearly established right under

the Fourth and Fourteenth Amendments to the United Stated Constitution to live

free from the government’s interference in the integrity of Plaintiffs’ family.

Plaintiffs have a clearly established Constitutional Right to a fair process prior to

removal of children from Plaintiffs’ family. The policies, practices, customs,

usages, rules, procedures, and conduct of the Defendants violate the Constitutional

guarantees to the Plaintiffs and constitute a deprivation under the Fourth and

Fourteenth Amendments of the fundamental right of the Plaintiffs to associate with

each other, to live as a family, and nurture and encourage each other as a family

unit.

         1.6.    The policy, practice, custom, rule, procedure and conduct of the

Defendants as enforced against the Plaintiffs in order to deprive the Plaintiffs of

their rights under the Fourth and Fourteenth Amendments, violate 42 U.S.C. §

1983.

         1.7.   Defendants violated clearly established law.
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       1.8.   Defendants had fair notice that Defendants’ conduct was clearly

unlawful.

       1.9.        Defendants conduct was “reckless” and constitutes “callous

indifference” to the legal rights of the Plaintiffs.

       1.10. Plaintiffs seek injunctive relief, a Declaratory Judgment of this Court

that the policy, practice, custom, usages, rules, procedures and conduct of the

Defendants is a violation of the Fourth and Fourteenth Amendments and the

penumbra of liberty, association, equal protection, and due process rights

protecting the legal rights of the Plaintiffs. Plaintiffs seek actual damages.

Plaintiffs also seek punitive damages in an amount to be awarded by the Jury and

nominal damages for the conduct and actions of the Defendants. Plaintiffs will

request the Court to enter a Declaratory Judgment that the policies, practices,

customs, usages, rules, procedures and conduct of the Defendants violate clearly

established law.

       1.11. Plaintiffs seek a declaration, pursuant to 28 U.S.C. §§ 2201 and 2202

and 42 U.S.C. § 1983, that the policy, practice, custom, usages, rules, procedure

and conduct of the Defendants is a violation of the Fourth and Fourteenth

Amendments, and of association, liberty, equal protection, and due process rights

guaranteed to citizens and Plaintiffs under the Fourth and Fourteenth Amendments

of the U.S. Constitution.
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       1.12. Plaintiffs seek the recovery of punitive damages against the individual

Defendants for the clearly unlawful actions of the individual Defendants and for

the individual Defendants’ “reckless” conduct, and their “callous indifference”

which interfered with and harmed the clearly established legal rights of the

Plaintiffs.

       1.13. Plaintiffs seek the recovery of nominal damages from all Defendants.

       1.14. Plaintiffs seek recovery of actual damages.

       1.15.    Plaintiffs seek and ask the Court to enter an injunction to stop

Defendants’ unlawful conduct and prohibit Defendants from returning to their old

unlawful ways.

       1.16. Plaintiffs seek the recovery of their attorney’s fees and costs pursuant

to 42 U.S.C. § 1988 and recovery of all court costs and expenses incurred to bring

this action.

                                          II.

                                   THE PARTIES

                                   A. The Plaintiffs

       2.1.      KW is a minor, under the age of eighteen (18) and is

the   natural    born   daughter   of   Edward    and   Michelle   Wernecke,     her

parents.



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       2.2.        Edward Wernecke is the father of KW, JW, JW and JW

and    is     married    to      Michelle            Werne cke.         Edw ard      W ernecke          is        an

individual      over    the    age        of     eighteen        (18)     and      resides       in     Nueces

Coun ty,       Texas.     Ed ward               W ernecke          brings       this       suit        in        his

representative      capacity     for      his    children,       KW,      JW,      JW      and        JW,        and

in his own capacity.

       2.3.        Michelle    Wernecke              is    the   mother    of     KW,      JW,        JW         and

JW    and     is    married    to      Edward             Wernecke.     Michelle       Wernecke             is    an

individual      over    the    age        of     eighteen        (18)     and      resides       in    Nueces

Coun ty,       Texas.     Michelle              Wernecke              brings      th i s   s u it      in        h er

representative        capacity      for        her        children,     KW ,    JW,        JW       and          JW ,

and in her own capacity.

       2.4.        JW is a minor, under the age of eighteen (18) and is the

natural born son of Edward and Michelle Wernecke.

       2.5.        JW is a minor, under the age of eighteen (18) and is the

natural born son of Edward and Michelle Wernecke.

       2.6      JW is a minor, under the age of eighteen (18) and is the

natural born son of Edward and Michelle Wernecke.

                                          B. The Defendants



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      2.7.     The   Texas    Department     of   Family   &   Protective   Services

(“DFPS”) is a department of the State of Texas. Plaintiffs seek equitable relief

and nominal damages against this Defendant. Plaintiffs request that Service of

process be issued and served on this Defendant if Defendant fails to waive

service under Federal Rule of Civil Procedure 4(d).

      2.8. Defendant, Linda Kim Garcia (“Garcia”) was at all material times a

state actor working as a government official for DFPS. This Defendant is sued in

her individual capacity. The actions of this Defendant were done under color of

law. Plaintiffs request that service of process be issued and served on this

Defendant if Defendant fails to waive service under Federal Rule of Civil

Procedure 4(d).

      2.9.    Defendant, Stella Klein (“Klein”) was at all material times a state

actor working as a government official for DFPS. This Defendant is sued in her

individual capacity. The actions of this Defendant were done under color of law.

Plaintiffs request that service of process be issued and served on this Defendant

if Defendant fails to waive service under Federal Rule of Civil Procedure 4(d).

      2.10.    Defendant, Claira Trainer (“Trainer”) was at all material times a

state actor working as a government official for DFPS. This Defendant is sued in

her individual capacity. The actions of this Defendant were done under color of

law. Plaintiffs request that service of process be issued and served on this
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Defendant if Defendant fails to waive service under Federal Rule of Civil

Procedure 4(d).

      2.11.   Defendant, Diane Bonneau (“Bonneau”) was at all material times a

state actor working as a government official for DFPS. This Defendant is sued in

her individual capacity. The actions of this Defendant were done under color of

law. Plaintiffs request that service of process be issued and served on this

Defendant if Defendant fails to waive service under Federal Rule of Civil

Procedure 4(d).

      2.12.   Defendant, Kevin Sullivan (“Sullivan”) was at all material times a

state actor working as a government official for DFPS. This Defendant is sued in

his individual capacity. The actions of this Defendant were done under color of

law. Plaintiffs request that service of process be issued and served on this

Defendant if Defendant fails to waive service under Federal Rule of Civil

Procedure 4(d).

      2.13    Defendant, Cindi Morales (“Morales”) was at all material times a

state actor working as a government official for DFPS. This Defendant is sued in

her individual capacity. The actions of this Defendant were done under color of

law. Plaintiffs request that service of process be issued and served on this

Defendant if Defendant fails to waive service under Federal Rule of Civil

Procedure 4(d).
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      2.14.   Defendant, Nueces County, is a political subdivision on the State of

Texas and is a municipality for purposes of 42 U.S.C. §1983. Plaintiffs request that

service of process be issued and served on this Defendant if Defendant fails to

waive service under Federal Rule of Civil Procedure 4(d).

      2.15.   Defendant, Deputy Garcia Doe (“Doe”), is a constable deputy or

law enforcement officer employed by Nueces County and working in constable

Precinct 5. (The full name of this deputy is unknown; thus, the name used is

“Doe.”) This Defendant was working as a government official for Nueces County.

This Defendant is sued in his individual capacity. The actions of this Defendant

were done under color of law. Plaintiffs request that service of process be issued

and served on this Defendant if Defendant fails to waive service under Federal

Rule of Civil Procedure 4(d).

      2.16.   Defendant, Deputy Carrion Roe (“Roe”), is a constable deputy or

law enforcement officer employed by Nueces County and working in constable

Precinct 5. (The full name of this deputy is unknown; thus, the name used is

“Roe.”).   This Defendant was working as a government official for Nueces

County. This Defendant is sued in his individual capacity. The actions of this

Defendant were done under color of law. Plaintiffs request that service of process

be issued and served on this Defendant if Defendant fails to waive service

under Federal Rule of Civil Procedure 4(d).
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                                           III.

                                 JURISDICTION

      3.1.   This Court has jurisdiction over this action pursuant to 28 U.S.C. §

1331 and § 1343 for the reason that this action arises under the Constitution and

laws of the United States and is an action to recover actual, nominal and punitive

damages for injury to a person because of a deprivation of a right or privilege of a

citizen of the United States and is an action for declaratory relief concerning a

policy, practice, custom, and usage in violation of 42 U.S.C. § 1983. This action

arises, inter alia, under the Fourth and Fourteenth Amendments to the United States

Constitution, 42 U.S.C.§1983, and 28 U.S.C. § 2201 and § 2202.

      3.2.   In addition to being a suit for recovery of actual, nominal and punitive

damages, this is a suit for a Declaratory Judgment pursuant to 28 U.S.C. §§ 2201

and 2202 and for an injunction. Plaintiffs seek injunctive relief, actual, nominal

and punitive damages, and declaratory relief that the policies, practices, customs,

usages, rules, and procedures of the Defendants are in violation of the law and a

preliminary and permanent injunction to stop Defendants unlawful conduct. The

Declaratory Judgment Act, 28 U.S.C. §§ 2201-02 is implemented through Rule 57

of the Federal Rules of Civil Procedure.

      3.3.   This Court is authorized to grant Plaintiffs’ prayer for relief regarding

costs, including a reasonable attorney’s fee, under 42 U.S.C. § 1988.
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       3.4.     This Court has supplemental jurisdiction over any and all claims

arising under state law by virtue of 28 U.S.C. § 1367.

       3.5.    Each and all of the acts alleged herein were done by Defendants, and

each of them, as individuals, under the color and pretense of the law, statutes,

ordinances, regulations, practices, customs, and uses, and in the capacities stated

herein.

       3.6. In their individual capacities, the Defendants acted under color of law

and were public officials acting under the color of law. The individual Defendants

are sued in their individual capacities for their unlawful actions and conduct taken

under color of law.

       3.7.    DFPS is sued in its official and public entity capacity.

       3.8.    Plaintiffs seek punitive damages against the individual Defendants for

their “reckless” conduct and “callously indifference” to the legal rights of the

Plaintiffs.

       3.9.     Plaintiffs’ claims for punitive damages against DFPS and Nueces

County are barred as a matter of law, and thus Plaintiffs may seek punitive

damages against these Defendants only as an effort to change existing law.

       3.10.    All of the actions and conduct of the individual Defendants herein

were taken in furtherance of, and pursuant to, policies adopted by either DFPS or

Nueces County, and those Defendants adopt approve, endorse, and ratify the
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actions and conduct of the individual Defendants as described herein as being

taken in furtherance of and pursuant to the policies of DPFS or Nueces County.

      3.11. The actions and conduct of the Defendants taken against the Plaintiffs

were actually caused by the policies of the DFPS or Nueces County.

                                         IV.

                                      VENUE

      4.1.   This Court has venue of this action pursuant to 28 U.S.C. § 1391.

      4.2.   The actions and conduct complained of herein arose within the

jurisdictional and venue limits of this Court in that they arose within the area

encompassing the United States District Court for the Southern District of Texas,

Corpus Christi Division. The Defendants and the actions complained about by the

Defendants herein all occurred within either Nueces or Harris County, Texas.

      4.3.   Venue and jurisdiction is proper in this Court.



                                         V.

                            STATEMENT OF FACTS


       5.1    On or about January 7, 2005, KW was admitted to the hospital and

diagnosed with HL.

       5.2 KW’s assigned doctor was Dr. Nejemie Alter.

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           5.3   Dr. Alter gave KW and her parents options for treatment of the

disease.

           5.4   KW and her parents chose a chemotherapy treatment as explained

to them by Dr. Alter.

           5.5    At some point Dr. Alter told KW and her parents that a blood

transfusion may be necessary.

           5.6    KW and her parents told Dr. Alter that they had a religious

objection to use of ordinary blood in any transfusion and offered alternatives to

the use of the public blood supply.

           5.7   KW and her parents requested the use of Katie’s own blood or the

blood of her mother or other relative as an alternative to the use of public blood

unless the use of public blood was necessary to save KW’s life.

           5.8   On or about April 7, 2005, Dr. Alter or a member of his staff at his

direction filed a complaint with the Texas Department of Family and Protective

Services because Edward Wernecke and Michelle Wernecke had requested an

alternative source of blood for any transfusion KW might need.

           5.9   On or about April 7, 2005, a worker from the Texas Department of

Family and Protective Services phoned Michelle Wernecke and verbally

threatened to remove the Wernecke’s other children from their home if the

Werneckes did not agree to a ordinary transfusion for KW using public blood.
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         5.20    Under duress from the threat from Texas Department of Family

and Protective Services, Michelle Wernecke consented to an ordinary blood

transfusion for KW using blood from the public supply.

         5.21    In April of 2005, KW had a diagnostic test done to determine if

the (disease) was still present. It was not.

         5.22    In early May of 2005, Edward and Michelle Wernecke sought a

second medical opinion on what treatment Katie would need after the

chemotherapy treatments KW had received.

         5.23    On May 11, 2005, KW and Werneckes received a medical report

which stated that there were no abnormal areas in Katie’s body.

         5.24    On May 12, 2005, Edward Wernecke took KW to see Dr. Alter

to have a blood sample done and to flush her port.

         5.25    While at Dr. Alter’s office on May 12, 2005, Dr. Alter pressured

Edward    Wernecke      to   consent to        radiation   treatments   of   KW. Edward

Wernecke questioned Dr. Alter’s insistence that radiation treatments needed to

begin on K W, and decided that he would need to get a second medical opinion

on the treatment options that are available. At this time there was no active

cancer and the mass was entirely necrossed so the need for radiation on KW

was not clear.



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        5.26    While at Dr. Alter’s office on May 12, 2005, a social worker

working for Dr. Alter was lingering outside the doctor’s office. Her name was

Laura Esparza. She opened the door of the exam room and asked Dr. Alter if

everything is ok.   She was waiting on a cue to call the Texas Department of

Family and Protective Services.

        5.27    During the middle of May of 2005, workers from the Texas

Department of Family and Protective Services kept calling Michelle Wernecke

and pressuring her to give consent to treat KW with radiation. The Texas

Department of Family and Protective Services workers threatened Michelle

Wernecke that her children would be taken if she did not give the consent to

treat KW with radiation.

        5.28    On or about May 24, 2005, Edward Wernecke took KW to see

Dr. Judith Mullins. Dr. Mullins evaluated KW and recommended that she have

both chemotherapy and radiation treatment. She also expressed disagreement

with the methods and treatment given by Dr. Alter to cancer patients in the past

and said that was the reason that she no longer worked with Dr. Alter.

        5.29   On or about May 26, 2005, Laura Esparza, a social worker from

Dr. Alter’s office called Edward Wernecke and wanted to know which doctor

was going to do the radiation treatments. He said that he needed a third opinion

since Dr. Alter and Dr. Mullins did not agree.
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        5.30    On or about the same time, Kim Garcia with the Texas

Department of Family and Protective Services phoned Michele Werrnecke.

Ms. Wernecke referred Ms. Garcia to the Werneckes’ legal counsel, Luis J.

Corona, Esq.

        5.31   On May 27, 2005, Texas Department of Family and Protective

Services phoned Michelle Wernecke and said that the Werneckes had ten days

from the date of the letter sent by Dr. Alter to the Texas Department of Family

and Protective Services to decide on and implement a treatment plan for KW.

Michelle again referred them to the Werneke’s attorney, Luis J. Corona, Esq.

        5.32 Later on May 27, 2005, the Texas Department of Family and

Protective Services called and gave the Werneckes a deadline to decide on

KW’s treatment of May 31, 2005. Again, the Texas Department of Family and

Protective Services was referred to the Werneckes’ legal counsel, Luis J.

Corona, Esq.

        5.33   On June 1, 2005, the Texas Department of Family and Protective

Services filed action 05-60955-5 “In the Interest of KMW ” in the County

Court of Law No. 5 of Nueces County.

        5.34   The lawsuit filed by Texas Department of Family and Protective

Services sought immediate removal of KW and custody by the government

over KW.
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        5.35   The law suit sought a permanent termination of the parent child

relationship between KW and her parents, Edward and Michelle Wernecke.

        5.36   The Texas Department of Family and Protective Services did not

seek an adversary hearing before seeking an immediate order of removal of

KW and custody of KW with the Texas Department of Family and Protective

Services.

        5.37    No exigent circumstances existed that would justify removing

KW without notice to her parents and an opportunity for an adversary hearing

before KW was removed from her family.

        5.38   No immediate danger existed that would justify removing KW

without notice to her parents and an opportunity for an adversary hearing

before KW was removed from her family.

        5.40   No safety or health issues existed that would justify removing

KW without notice to her parents and an opportunity for an adversary hearing

before KW was removed from her family.

        5.41   The immediate removal of KW from her family without notice to

her parents and the opportunity for an adversary hearing was based on an

affidavit by Linda Kim Garcia executed on June 1, 2005.




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        5.42      The affidavit of Linda Kim Garcia was false, contained

fraudulent statements, and was intentionally written to create the false

impression that KW’s immediate health and safety were in danger.

        5.43       Defendant, Kevin Sullivan, participated in reviewing the

information in the Garcia affidavit and concurred in the false statements and

actions for immediate removal of KW from her family without an adversary

hearing. Kevin Sullivan had the authority to stop Kim Garcia’s actions and did

not do so.     Kevin Sullivan was Garcia’s supervisor.       Kevin Sullivan agreed

with the unlawful actions of Kim Garcia and the Texas Department of Family

and Protective Services.

        5.44     Without justification or cause, on June 1, 2005, the Texas

Department of Family and Protective Services, at the insistence of Kim Garcia

and Kevin Sullivan, caused a lawsuit to be filed against the Plaintiffs and

obtained by false evidence and false testimony an Order for the immediate

removal of KW from her family and that placed KW in the custody and control

of the Texas Department of Family and Protective Services.

        5.45 KW was removed from her family by Kim Garcia on June 4, 2005.

        5.46    While in the custody of the Texas Department of Family and

Protective Services   various medical procedures were performed on KW

without her consent or the consent of her parents.           Many of the medical
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procedures were experimental in nature and caused KW great pain and

suffering, and permanent physical harm.

        5.47   KW was removed from her family and not returned to her family

until November of 2005.

        5.48    KW was placed in a foster home in Houston, Texas and not

allowed to have contact with her family.

        5.49   KW was cut off from having the support and contact from her

family during her period of unlawful removal by the protective services

Defendants.

        5.50     Despite clear and convincing evidence to the contrary, during

the time of KW’s unlawful removal, the protective services Defendants

continued a pattern and practice of relying on false and fraudulent evidence to

keep KW in their custody. Defendant, Stella Klein was the individual making

all health care and other decisions for KW during her time of removal from her

family. Upon information and belief, Stella Klein is not licensed as a medical

doctor or otherwise trained in the field of medicine or oncology and, thus, is

incompetent to make such decisions.

        5.51      Stella Klein unlawfully participated in restricting contact

between KW and her family during the time of her removal and authorized

medical treatment that was not in KW’s interest.
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        5.52    Stella Klein deliberately attempted to interfere with any contact

between KW and her family during the time of KW’s removal.

        5.53     KW ’s family and parents were forced to retain legal counsel to

dispute the unfounded charges made against them by the protective services

Defendants and to litigate with the protective services Defendants to secure

KW ’s return to her family, including an appeal to the Texas Supreme Court.

        5.54   Edward and Michelle Wernecke incurred substantial legal fees to

secure KW’s release from her unlawful custody by the protective services

Defendants.

        5.55 Defendant, Cindi Morales, was a supervisor for the Texas

Department of Family and Protective Services and directly supervised and

reviewed the files and facts of the DFPS’s case, and granted approval of the

unlawful actions taken by the employees of the      Texas Department of Family

and Protective Services.

        5.56     Defendant, Diane Bonneau, was a supervisor for the Texas

Department of Family and Protective Services and directly supervised and

reviewed the files and facts of the DFPS’s case, and granted approval of the

unlawful actions taken by the employees of the      Texas Department of Family

and Protective Services.



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         5.57      On June 1, 2005, Kim Garcia and two deputy constables from

precinct 5 of Nueces County, Defendant Garcia Doe and Defendant Carrion

Roe, went to the home of the Plaintiffs.      Kim Garcia was looking for KW in

order to seize her and remove her from her family.

         5.58       The Defendants did not have a search warrant to search the

Plaintiffs home.

         5.59    Edward Wernecke was home and refused to consent to a search

of his home.

         5.60 KW was not at the Plaintiffs home.

         5.61      Despite the absence of a search warrant, the deputy constables

from Precinct 5 pushed the door open and began a search of the Plaintiffs’

home.

         5.62       The constables had no lawful right to enter or search the

Plaintiffs’ home.

         5.63    The protective services employees followed the deputies into the

Plaintiffs’ home.

         5.64      Kim Garcia was angry that KW was not home and wanted to

retaliate against Plaintiffs.




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        5.65    Edward Wernecke was ordered to unlock all doors and permit the

Defendants to search all areas of Plaintiffs’ home. Defendants took pictures of

all areas of Plaintiffs’ home.

        5.66     Without a court order or any justification, Kim Garcia and the

constable deputies seized and removed Plaintiffs, JW, JW and JW from the

home.

        5.67         Defendants had no order permitting the removal of Plaintiffs,

JW, JW and JW from the home by the Defendants.

        5.68     No exigent circumstances existed justifying the Plaintiffs, JW,

JW and JW being removed from the home by the Defendants.

        5.69         No dangerous condition existed justifying the Plaintiffs, JW,

JW, and JW being removed from the home by Defendants.

        5.70     Kim Garcia said that if Edward and Michelle would turn over

KW to her that the Werneckes could have their boys returned to them.

        5.71    The sole reason that Defendants took the Wernecke boys on June

1, 2005 was to use them as a bargaining chip to negotiate the surrender of KW

to the Defendants.

        5.72     In addition to violating federal law, the actions of Kim Garcia

and the constable deputies on June 1, 2005 violated the clearly established law

in the Texas family code, and the policies of the Texas Department of Family
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and Protective Services because no dangerous or exigent circumstances existed

which would justify the removal of the Wernecke boys from their home on

June 1, 2005.

       5.73     Before Kim Garcia instructed the deputy constables to seize the

boys on June 1, 2005, she conferred with and obtained the approval of her

supervisor, Defendant, Claira Trainer.       Trainer acquiesced in the unlawful

actions of Kim Garcia and the deputy constables.

       5.74     It is the policy of Nueces County that its constables shall follow

the instructions of case workers and employees of the Texas Department of

Family and Protective Services.

       5.75      Deputies Garcia and Carrion of precinct 5 of Nueces County

were following Nueces County policy on June 1, 2005 when they entered the

Plaintiffs’ home without a warrant, searched the home and seized JW, JW and

JW and placed them in the custody of Kim Garcia and the Texas Department of

Family and Protective Services.

       5.76     It is the policy of the Texas Department of Family and Protective

Services to give instructions to law enforcement officers for removal of

children from their home.




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        5.77      JW, JW and JW were separated from their dad and mom until

June 10, 2005 after the Judge ordered the Texas Department of Family and

Protective Services to return the boys to their parents.

        5.78      On June 2, 2005, Kim Garcia executed and filed a false affidavit

with the County Court at Law No. 5 in Cause 05-60955-5 in which she urged

that the Wernecke boys remain in the custody of the Texas Department of

Family and Protective Services.

        5.79      On June 3, 2005, the Texas Department of Family and Protective

Services filed an Amended Petition in Cause No. 05-60955-5 seeking to

permanently terminate the parent-child relationship between Edward Wernecke

and Michelle Wernecke, and their three boys, JW, JW and JW.

                               CAUSES OF ACTION

                                          VI.

                   COUNT I - FOURTEENTH AMENDMENT

      6.1. Plaintiffs hereby reincorporate and adopt by reference for all purposes

each and every allegation in the preceding paragraphs numbered I. through V. of

this Complaint.

      6.2. Defendants violated Plaintiffs’ Fourteenth Amendment rights to family

integrity, family privacy, liberty, and procedural and substantive due process.



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      6.3.    Defendants’ malicious and deliberate interference with the family

integrity of the Plaintiffs violates the Fourteenth Amendment. Defendants have

disregarded the Constitution of the United States of America and by their conduct,

policy, practice and custom have violated the fundamental rights of all Americans

– the right of privacy and the right to the love, nurture and affection of Plaintiffs’

family. The right of a family to remain together without the coercive interference

of the government is a fundamental right protected by the Fourteenth Amendment

of the Constitution.

      6.4. Defendants have violated the Plaintiffs’ procedural and substantive due

process rights guaranteed under the Fourteenth Amendment. Defendants’ conduct

against Plaintiffs’ family is outrageous, egregious and shocks the contemporary

conscience. Defendants’ conduct is arbitrary and represents an abusive, irrational,

malicious and oppressive use of government power against Plaintiffs’ family.

      6.5. The Defendants have violated the fundamental right of Plaintiffs to fair

procedures before having children removed from their family.

      6.6.   Freedom of personal choice in matters of family life is a fundamental

liberty interest protected by the Fourteenth Amendment of the Constitution. In

2005, it was clearly established that the integrity of the family unit in America was

protected by the Constitution.



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      6.7.     Plaintiffs have a clearly protected and clearly established right under

the Fourteenth Amendment to the United Stated Constitution to live free from the

government’s interference in the integrity of Plaintiffs’ family. The policies,

practices, customs, usages,      rules, procedures, and conduct of the Defendants

violate the Constitutional guarantees to the Plaintiffs and constitute a deprivation

under the Fourteenth Amendment of the fundamental right of the Plaintiffs to

associate with each other, to live as a family and nurture and encourage each other

as a family unit.

      6.8.      The law applicable to these rights was clearly established in 2005

when the Defendants acted in violation of the law.

      6.9. Defendants had fair notice that their conduct as described herein was a

violation of the law in 2005.

      6.10. No reasonable official would violate clearly established law.




                                         VII.

                        COUNT II - FOURTH AMENDMENT

        7.1.        Plaintiffs hereby reincorporate and adopt by reference for all

purposes each and every allegation in the preceding paragraphs numbered I.

through V. of this Complaint.
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        7.2.   Defendants violated Plaintiffs’ Fourth Amendment right to be free

from the government’s search and seizure except upon probable cause and a

warrant issued by a magistrate.

        7.3.   Defendants’ malicious and deliberate interference with the clearly

established requirements of the Fourth Amendment violates the law. Defendants

have disregarded the Constitution of the United States of America and by their

conduct, policy, practice and custom have violated the fundamental rights of all

Americans – the right of privacy and the right to the sanctity of their home and the

right to be free from warrantless searches of the home. The right to be free from

the government’s search and seizure without a warrant is a fundamental right

protected by the Fourth Amendment of Constitution.

        7.4.   Defendants seizure of JW, JW and JW without a court order, a

warrant, or exigent circumstances violates the Fourth Amendment.

        7.5. Defendants entry into the Wernecke home on June 1, 2005 without a

court order or warrant and search of the home violates the Fourth Amendment.

        7.6.    The law applicable to these rights was clearly established in 2005

when the Defendants acted in violation of the law.

        7.7. Defendants had fair notice that their conduct as described herein was

a violation of the law in 2005.

        7.9.   No reasonable official would violate clearly established law.
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        7.10.     The moving force behind Defendants’ violation of the Fourth

Amendment was the policies, practices, customs and usage of the Defendants.


                                        VIII.

                                  42 U.S.C. § 1983

        8.1. Plaintiffs hereby reincorporate and adopt by reference for all purposes

each and every allegation in the preceding paragraphs numbered I. through V. of

this Complaint.

        8.2. The actions of the Defendants violate the rights of the Plaintiffs as

guaranteed to Plaintiffs’ by the United States Constitution and, are, further,

policies, practices, customs, usages, rules, procedures, and conduct which have

effectively denied to the Plaintiffs a constitutionally protected right which is in

violation of 42 U.S.C. § 1983.

        8.3. The policies, customs, usages, rules, procedures, and practices of the

Defendants, as alleged herein, violate 42 U.S.C. §1983 because they have denied

Plaintiffs a right, privilege or immunity protected by the Constitution of the United

States and the laws of the United States.

        8.4. Defendants are public officials who violated 42 U.S.C. §1983 by their

conduct described herein because they denied to the Plaintiffs a right, privilege or

immunity protected by the laws of the United States Government and the

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Constitution of the United States, as alleged herein and the laws of the State of

Texas.

           8.5.    Because of these violations of these constitutionally guaranteed

rights, Plaintiffs seek a Declaration from the Court, pursuant to 42 U.S.C. § 1983,

that the policy, practice, custom, usages, rules, procedures and conduct of the

Defendants is unconstitutional and an injunction prohibiting such illegal acts in the

future.

           8.6. Plaintiffs additionally seeks actual, nominal and punitive damages

within the jurisdictional limits of this Court for the Defendants’ violation of this

law.

                                          IX.

                         DECLARATORY ACTION RELIEF

           9.1. Plaintiffs hereby reincorporate and adopt by reference for all purposes

each and every allegation in the preceding paragraphs numbered I. through V. of

this Complaint.

           9.2. Plaintiffs seek a Declaration from the court that the policies, practices,

customs, usages, rules, procedures and conduct of the Defendants violate the

Constitutional and statutory rights of the Plaintiffs as alleged herein on their face as

applied.

                                             X.
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                             RULE 65 INJUNCTION

        10.1.     Plaintiffs hereby reincorporate and adopt by reference for all

purposes each and every allegation in the preceding paragraphs numbered I.

through V. of this Complaint.

        10.2.       In accordance with Rule 65 of the Federal Rules of Civil

Procedure, Plaintiffs seek a preliminary and permanent injunction prohibiting the

Defendants from engaging in conduct in violation of the Fourth and Fourteenth

Amendments of the U.S. Constitution, and specifically prohibiting the Defendants

from adopting, implementing, or enforcing a policy interfering with Plaintiffs’

right to family integrity.

        10.3.    Plaintiffs seek a permanent injunction against the Defendants to

compel the Defendants to follow the law of the U. S. Constitution, U.S. law and

statutes, and laws of the State of Texas.

                                            XI.

                              NOMINAL DAMAGES

        11.1.     Plaintiffs hereby reincorporate and adopt by reference for all

purposes each and every allegation in the preceding paragraphs numbered I.

through V. of this Complaint.

        11.2     Plaintiffs seek nominal damages from the Defendants for their

unconstitutional and unlawful conduct as described herein.
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                                                      XII.

                                     PUNITIVE DAMAGES

          12.1.      Plaintiffs hereby reincorporate and adopt by reference for all

purposes each and every allegation in the preceding paragraphs numbered I.

through V. of this Complaint.

          12.2.              Plaintiffs      seek       the         recovery     of        punitive      damages

from      the     individual       Defendants           (not     the     DFPS         or     Nueces        County

only    because such damages are barred as a matter of                                            law)   for     the

individual         Defendants’        unconstitutional                 and      unlawful           con duc t     as

described herein.

          12.3.              The     individual              D efendants        are        not     entitled       to

qualified        immunity        because          the        individual        Defendants            had       “fair

notice”      that    their     actions       and        conduct        violated        clearly       established

law at the time the Defendants took the actions in question.

          12.4.              The     individual              Defendants        acted       “recklessly”         and

with     a      “callous     indif fere nce”         to       the     law ful     an d       C ons titution ally

protected rights of the Plaintiffs.

          12.5 .     Plaintiffs       will          seek        punitive         damages            fro m       th e

individual          Defendants            s e v e r a l ly     for      each      of        the     in d i v i d u al



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De fend ants      reck less   an d    callo usly    in different   conduct   as   alleged

herein.

                                            XIII.

                                 ACTUAL DAMAGES

          13.1.     Plaintiffs hereby reincorporate and adopt by reference for all

purposes each and every allegation in the preceding paragraphs numbered I.

through V. of this Complaint.

          13.2.     Plaintiffs seek actual damages from the Defendants for the

Defendants’ violation of the law.

          13.3.   The amount of actual damages sought are within the jurisdiction of

this Court.



                                            XIV.

                                     ATTORNEYS FEES

          14.1.       Plaintiffs hereby reincorporate and adopt by reference for all

purposes each and every allegation in the preceding paragraphs numbered I.

through V. of this Complaint.

          14.2.       Plaintiffs, as the prevailing party, will seek an award of

attorneys fees against the Defendants, jointly and severally, pursuant to 42 U.S.C.

§1988 and the laws of the United States.
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                                           XV.

                                       JURY TRIAL

        15.1.        Plaintiffs demand a jury trial on all issues triable to a jury.

                                           XXII.

                               PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs respectfully request and pray that the Court grant

the Plaintiffs the following relief:

        1.    That Plaintiffs be awarded nominal damages;

        2.    That Plaintiffs be awarded punitive damages against the individual

              Defendants,

        3.    That Plaintiffs be awarded actual damages.

        4.    That Plaintiffs be awarded Plaintiffs’ costs and reasonable attorney’s

fees in this court and all other courts.

        5.    That the Judgment of Court awarding the relief requested by the

Plaintiffs against the Defendants be jointly and severally awarded.

        6.    That Plaintiffs be awarded pre-judgment and post-judgment interest,

to the extent permitted at law.

        7.    That the Court enter an Declaratory Judgment declaring that the

Defendants’ conduct and actions:

        a.    Violate clearly established legal rights of the Plaintiffs;
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        b.   Violate laws which Defendant had fair notice of;

        c.   Violate the Fourth Amendment;

        d.   Violate the Fourteenth Amendment Due Process Clause;

        e.   Violate 42 U.S.C. §1983;

        i.   Were taken in furtherance of and pursuant to policies adapted by the

             DFPS or Nueces County;

        j.   By the PISD in adapting the policies are facially and as applied

             unlawful;

        k.   By the individual Defendants were “reckless”;

        l.   By the individual Defendants were done with “callous indifference” to

             Plaintiffs’ legal rights;

        m.   Were applied in an unlawful manner;

        8.   That the court issue an injunction enjoining the unlawful actions and

policies of the Defendants.

        9.   That this Court retain jurisdiction of this matter for the purpose of

enforcing this Court’s permanent injunctive order and review Defendants’

compliance with the Court’s permanent injunction; and,

        10. That Plaintiffs have such other and further relief, both at law and in

equity, as the Court deems just and right.

                                                  Respectfully submitted,
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